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   9
  10

  11                       UNITED STATES DISTRICT COURT
  12
               CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
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  14

  15   UNITED STATES OF AMERICA,               )
  16
                                               )     Case No. 5:12-cr-0092-VAP-04
                                    Plaintiff, )
  17                                           )      DEFENDANT’S LETTERS IN
  18                    vs.                    )      SUPPORT OF SENTENCING
                                               )      RECOMMENDATION
  19   ARIFEEN DAVID GOJALI,                   )
  20                                           )      (Hrg: 3-16-15; 9:00am; D-II)
                                    Defendant. )
  21
                                               )
  22
             TO: HON. VIRGINIA A. PHILLIPS, JUDGE OF THE UNITED STATES
  23
                 DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA,
  24             EASTERN DIVISION; STEPHANIE YONEKURA, UNITED
  25             STATES ATTORNEY, SUSAN DeWITT, CHRISTOPHER GRIGG,
                 and ALLEN CHIU, ASSISTANT UNITED STATES ATTORNEYS;
  26             MICHELLE A. CAREY, CHIEF UNITED STATES PROBATION
  27             OFFICER, BY LORI PASCOVER, UNITED STATES PROBATION
                 OFFICER; AND TO THE CLERK OF THE UNITED STATES
  28             DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA,
                 EASTERN DIVISION:
                                 001
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   8         B.    LETTER - LORD KAFI MENSAH                           6
   9
             C.    LETTER- TRACY NGUYEN                                9
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  11         D.    LETTER - MUHAMED MUNIR GOJALI                       10
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Honorable Judge Phillips,
     I write this letter in hope that it will allow you to have a
better understanding about me and what my life has been about.
First and foremost, I am very apologetic for the pain and turmoil I
had place o~ my family and love ones due to my behavior and poor
choices I've made in life, but I hope that this letter will give
you some clarity and insight about the circumstances and the events
that occurred throughout my life, which eventually lead to my incarceration.
    Your Honor, my family and I come from very humble beginnings.
My parents grew up in a small village in the southern province of
Vietnam without proper education. They were both taught and raised
with religious studies and values. They moved to the U.S. in the early
SO's hoping to find a better future for themselves and their children.
Consequently, they also believed in raising their children in the
same manner my grand-parents had raised them, however, they did not
realize the many challenges of raising a family in a modern society,
nor were they equipped with h~ndling the mental and emotional stress
their children were facing due to my parents conservative values
and upbringing.
    As the 8th child out of 12 kids, I was sexually abuse from a
relative at the age of 5 for approximately a year and a half. I held
on to this secret with me growing up and was to afraid and ashamed
to speak about it. My mother and father wanted the best for me and
wanted me to achieve and excel in my studies and life, but also believed
in tough love which often lead to physical and emotional abuse.
     My older brother Mohammad, who was always battling· with health
complications, was my role model and someone whom I admire, sadly
more than my own father. In 2006, his health was deteriorating,
which required a major surgery and intensive physical therapy. An
accident occurred while he was in the hospital and was place on
life-support. After a couple of weeks, my family had decided to take
him off of life-support without informing me. At the age of 16, I
watch my loving brother heart monitor decline from 100 and slowly
tormenting me to flat line zero. He was only 24.
    Mohammad's death took a toll on my life. I found myself locked
inside my room, where I would cry. I went through a state of depression,
I was ashamed and embarassed to share with my family about what I
was going through. As big as my family is, I often felt I was very
much alone. I walked around the house feeling rejected, ashamed, lonely,
and no self-esteem. I was place with a heavy burden as if I carried
the weight of the world on my shoulders.
     I have gone to extremes in many areas of my life, including
abusing drugs and alcohol. I found drugs and alcohol as an escape
goat to my problems. I was sent to bootcamp due to failing grades
and running away from home. In bootcamp I was given the opportunity
to get sober and open up about my depression with a therapist. When
I left bootcamp, I felt as if I rebounded, that things were going to
change, however, the combination of lack of support, lack of mentors,
and no sympathy towards what I have gone through made me feel like a
lost kid again and slowly falling into the fray of my drug habits
and eventually dropping out of high school.




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     There was no sense of direction about my life, where I wanted
to go or what I wanted to do; no motor-no drive. I knew that I didn't
want to live this way anymore. I went to a local mosque in my community,
where I met and became friends with Deleon and Santana. They were kind
and gentle, and very understanding whenever I open up about my past
and most importantly they never judged me. I felt like I finally
belonged to a group. I felt they.appreciate me for who I am. I decided
to give religion a chance. My parents seem to be please with my effort,
and my father come to show more interest in me, and my drug habits
\vent away.
     At this point and time I had a girlfriend, Tracy. Tracy and I
were middle school sweet-hearts. My parents did not approve of our
relationship because of their conservative values and beliefs. Tracy
and I were madly in love with each other like any young couple first
love. At the age of 21, I became a father to a beautiful baby gir1,
Anyla. With no high school diploma it was very difficult to seek employment
in an economy thst looked like it was never going to get better.
Frustrated, I felt as if I failed time after time, failed as a father,
failed as a partner.
      One evening, I spend the night over at Deleon's house. I was
venting about the issues and dilemma I was dealing with as a provider
for my family, the diffi6ulty~6f finding enployment, and my relationship
with Tracy. He had advise me to    leave QY family, that God will take
care of them and provide for them, and persisted to not be concerned or
worried about Anyla and Tracy. This ultimately made my decision to
leave.
     Since my incarceration, I've had plenty of time to reflect on
oy life froQ different angles, and I find it very challenging to
absorb the chaotic and ~Jainful chain of events 'vhich I have encountered
throughout my life, hou~ver, as I continue to analyze these events in
ny life through therapy MDC-Los Angeles has offerred, I have slowly
gotten a better understanding as to why I ended up in my current state.
I needed to stop looking out at others, but looking in the mirror at
myself and start asking questions, such as, " What neccessary changes
do I need to make about myself? ''. I wanted or needed to stop blaming
others for my misfortunes or short comings, and taking responsibility
for myself; find the flaws within my personality or character that
have gotten me into any trouble and work to improve or diminish them
entirely.
     I have tried my best to utilize and make the most out of my time
to educate myself, read books, or learn new sets of skills, such as,
~laying the guitar and singing, developing a healthy and honest relationship
\vith my family and love ones, and lastly, work on my internal being.
I have attained my high school diploma uhile incarcerated and also enroll
~yself in a Reentry program, where I've learned to develop goals related
to basic life skills, such as, finding employment, tuilding a support
system, managing liesure time and getting establish in the community,
and most importantly, being a better parent for Anyla. I've also tried
my best to be an exanple or role model for young fellow inmates and
share \lith them my experience and advice as they go through this life
changing journey of incarceration. I can honestly say I am much closer
with my family then ever before. Tracy and I have worked and discuss our
issues and decided to put it behind us and move forward. Our future
together is unclear, but I strongly feel our path is working towards
being a family once again. I have made and written children books for
Anyla, such as, numeral and alphabetics books, and also a story about
an angel from heaven-coming down to earth to help young boys and girls,
to clean after themselves, brush their teeth, and the importance of eating
 vegetables.
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    While being incarcerated, I remember the first time Anyla threw a tantrum
infront of me and didn't let me comfort her cause she was unfamiliar with my
presence. Although it hurted me that my own child didn't want her father to
comfort her, it also motivated me to make a bigger effort to be more involved in
her life ~lith my limited resources. I wrote her letters every month, expressing
~ow much I love her, I made and wrote children books, teaching good morals and
behavior, I've also wrote Anyla a song and sanged it to her, and speak to her
everytime I called home. My relationship with Anyla have grown tremendously
since the day she cried. She knows who I am and ask her mom about me often.
She calls me, "dad" or "Cha", which means dad in vietnamese. She gets' so excited
to come and visit me, and walks up to me and embrace me with a hug and a kiss
without her mom or I instructing her. It pains me that I can't be there for her
or be there for all the birthdays I have missed. As a father, I owe Anyla
everything, and I would move mountains to be with her and to make things right
again.
    Through my incarceration, I have found my dream and my passion. In the near
future, I intend to pursue my studies and major in pschology, and become a
youth counselor; giving back to many young adolescent who are lost and guide them
towards the direction of light and hope. I believe I can use the events that
occurred in my life as an experience and empathize with many young children
and teenagers who are looking for their voice to be heard or for someone to
reach out to.
    Your Honor, I promise to be a better role model for my younger siblings,
who look up to me, I promise to be a better son to my belove parents, and most
importantly, a better father to my 3 year old daughter, Anyla. Your Honor, I am
no threat or danger to society. I made a poor decision and I accept full
responsibilty for my behavior. I truly feel that if I am given a second chance,
I will use my freedom to be a honest and civil member of society and I will never
COQpromise my values again. Lastly, I would like to express my deepest appreciation
for taking your time to read my letter. Thank you!




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To Whom It May Concern:


Wry name is MohamedMunir Gojali , I am Arifeen Gojali's older brother. I'm currently
working as a nurse caring for ill children. A proud American who loves this great nation
for all its freedom and endless opportunities. When I first heard of what was reported on
the news of the 4 men, I was very disappointed and upset with my brother I couldn't
believe it. I know my brother and he is not what they depicted him to be. What he really
is, is a hopeless romantic guy who is very sensitive and emotional. I'm never seen an
angry side from him he is the type that would resolve a conflict with love and a smile. I
can't picture my brother not ever smiling , in his mind he is blessed to be breathing and
surrounded with family especially his daughter Anyla. His other love is sports and his
teams was the Lakers he is a die hard fan, a big Kobe fan and basketball was part of
our life watching on TV and playing recreationally. We played basketball every week
about 2-3x with strangers and leaving the courts making new friends . That's who he was
very approachable and friendly . My brother the emotional guy is always tearing up when
his cousins come visit and leave. Yeah he wears his emotions on his sleeve and he is
genuine cause he really cared about people.
When he comes out I will be right by his side and help him with transitions. I know he is
really mature behind bars and I'm quite proud of him he went in a boy and now coming
out as a man with priorities and goals. His biggest priority is to be a good dad to his
beautiful daughter he sorely miss and regrettably miss out on a few years of her life. I
have no doubt Arifeen will thrive on his 2nd chance of life and put the darkest part of life
behind him. We are grateful to get him back to his family and have no doubt he will be a
contributing member to society.




Sincerely,


MohamedMunir Gojali




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